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            EXHIBIT!B!
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION


 MWK RECRUITING, INC,


           Plaintiff
                                           Case No. 1:18-cv-00444-RP
           v.


 EVAN P. JOWERS, YULIYA
 VINOKUROVA, LEGIS
 VENTURES (HK) COMPANY
 LIMITED, AND ALEJANDRO
 VARGAS,


           Defendants




 EVAN P. JOWERS,


           Counterclaimant


           v.


MWK RECRUITING, INC.,
ROBERT E. KINNEY,
MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,


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 KINNEY RECRUITING LLC,
 COUNSEL UNLIMITED LLC, and KINNEY
 RECRUITING LIMITED,


                Counterdefendants




      MWK ENTITIES’ OBJECTIONS AND RESPONSES TO DEFENDANT/
  COUNTERCLAIMANT’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
        Plaintiff MWK Recruiting, Inc. (“MWK” or “Plaintiff”) and the Counterdefendants
(collectively, the “MWK Entities”), by and through their attorneys, and pursuant to Rules 33 and
34 of the Federal Rules of Civil Procedure and the Local Rules of this Court, respond and object
to Defendant/Counterclaimant’s First Request for Production of Documents as follows:
                                PRELIMINARY STATEMENT
       1.      The MWK Entities’ document production is made pursuant to and governed by the
Confidentiality and Protective Order, signed by the parties and so ordered by the Court on
February 25, 2019.
        2.       The MWK Entities’ investigation and development of all facts and circumstances
relating to this action is ongoing. These responses and objections are made without prejudice to,
and are not a waiver of, the MWK Entities’ right to rely on other facts or documents at trial.
         3.      By making the accompanying responses and objections to Defendant’s requests
for documents and interrogatory, the MWK Entities do not waive, and hereby expressly reserves,
its right to assert any and all objections as to the admissibility of such responses into evidence in
this action, or in any other proceedings, on any and all grounds including, but not limited to,
competency, relevancy, materiality, and privilege. Further, the MWK Entities make the
responses and objections herein without in any way implying that it considers the requests and
interrogatory, and responses to the requests and interrogatory, to be relevant or material to the
subject matter of this action.
       4.      The MWK Entities will produce responsive documents only to the extent that
such documents are in the MWK Entities’ possession, custody, or control, as set forth in the
Federal Rules of Civil Procedure. The MWK Entities’ possession, custody, or control does not
include any constructive possession that may be conferred by the MWK Entities’ right or power
to compel the production of documents or information from third parties.


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        5.      A response to a document request or interrogatory stating that objections and/or
indicating that documents will be produced shall not be deemed or construed that the MWK
Entities performed any of the acts described in the document request, interrogatory, or
definitions and/or instructions applicable to the document request or interrogatory, or that the
MWK Entities acquiesces in the characterization of the conduct or activities contained in the
document request, interrogatory, or definitions and/or instructions applicable to the document
request or interrogatory, or that the MWK Entities waive any defenses including the statute of
limitations.
        6.      The MWK Entities expressly reserves the right to supplement, clarify, revise, or
correct any or all of the responses and objections herein, and to assert additional objections or
privileges, in one or more subsequent supplemental response(s).


                                   GENERAL OBJECTIONS:
        1.      The MWK Entities object to each instruction, definition, document request, and
interrogatory to the extent that it purports to impose any requirement or discovery obligation
greater than or different from those under the Federal Rules of Civil Procedure and the
applicable Rules and Orders of the Court.
        2.      The MWK Entities object to each instruction, definition, document request, and
interrogatory to the extent that it seeks documents protected from disclosure by the attorney-
client privilege, attorney work product doctrine, or any other applicable privilege. Should any
such disclosure by MWK Entities occur, it is inadvertent and shall not constitute a waiver of any
privilege.
        3.      To the extent any of Defendant’s document requests or its interrogatory seek
documents or answers that include expert material, including but not limited to survey materials,
the MWK Entities object to any such requests and interrogatory as premature and expressly
reserves the right to supplement, clarify, revise, or correct any or all responses to such requests,
and to assert additional objections or privileges, in one or more subsequent supplemental
response(s) in accordance with the time period for exchanging expert reports set by the Court.
        4.      The MWK Entities incorporate by reference every general objection set forth
above into each specific response set forth below. A specific response may repeat a general
objection for emphasis or some other reason. The failure to include any general objection in any
specific response does not waive any general objection to that request. Moreover, the MWK
Entities do not waive its right to amend its responses.
       5.      The MWK Entities object to all individual requests herein, as they do not comply
with the “reasonable particularity” requirement of Rule 34(b)(1).



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                 OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
        1.      The MWK Entities object to Definition No. 16 regarding “document” or
“documents” to the extent that it purports to impose obligations greater than those set forth in the
Federal Rules of Civil Procedure 34 and Local Court Rule CV-26(b). The MWK Entities further
object to Definition No. 16 to the extent that it calls for documents protected from disclosure by
the attorney-client privilege, attorney work product doctrine, or any other applicable privilege.
         2.      The MWK Entities object to Instruction No. 6 regarding constructive possession
as it seeks to impose obligations greater than those set forth in the Federal Rules of Civil
Procedure 34 and exceeds the understanding of “possession, custody, or control” as laid out in
Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812 (5th Cir. 2004).
       3.     The MWK Entities object to Instruction No. 9 because the parties have not
reached an agreement on search terms and date ranges.
       4.     The MWK Entities object to Instruction No. 10 because the parties have not
reached an agreement on the manner of collection of electronic documents, particularly the use
of ESI vendors and other software.
       5.      The MWK Entities object to Instruction No. 11 because the parties have not
reached an agreement on the manner of production, including the production of native files and
preservation of metadata.


              SPECIFIC REQUESTS FOR PRODUCTION OF DOCUMENTS


       1.     All documents or communications that you contend support any of your
 answers to Defendant/Counterclaimant’s First Set of Interrogatories.
        RESPONSE: The MWK Entities object to the request because it is vague, ambiguous,
        overly broad, and unduly burdensome in that they seek all documents that would support
        any of their answers to Jowers’s First Set of Interrogatories. Because this Request
        incorporates Jowers’s Interrogatories by reference, the MWK Entities incorporate their
        objections to those interrogatories by reference as well. The MWK Entities will instead
        produce documents that they may use to support their answers to Jowers’s First Set of
        Interrogatories. The MWK Entities are producing certain documents of even date with
        these responses and objections, and will produce further documents as they are located
        during a thorough and diligent search.
       2.      All documents or communications relied on or reviewed in preparing your
 answers to Defendant/Counterclaimant’s First Set of Interrogatories.


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       RESPONSE: The MWK Entities object to the request because it is vague, ambiguous,
       overly broad, and unduly burdensome in that they seek all documents reviewed in
       preparing answers to Jowers’s First Set of Interrogatories. Because this Request
       incorporates Jowers’s Interrogatories by reference, the MWK Entities incorporate their
       objections to those interrogatories by reference as well. The MWK Entities further object
       to this Request to the extent it seeks documents or materials protected by the attorney-
       client privilege or the work product doctrine and will withhold such documents on that
       basis, and description of said documents will be reflected in a privilege log that MWK
       Entities will disclose within a reasonable time. The MWK Entities will instead produce
       documents that they may use to support their answers to Jowers’s First Set of
       Interrogatories.
        3.     All documents or communications concerning any loan you made to
Jowers, including but not limited to the Revolving Loan Agreement and the 2012 Forgivable
Loan, as those terms are defined in your Complaint. Include all documents or communications
reflecting any unpaid balances allegedly owed by Jowers.
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications concerning any” loans is vague, ambiguous, and not
       sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. To the extent that this Request seeks information about loans that
       are not at issue in this case, the MWK Entities object because the request seeks
       irrelevant information. The MWK Entities further object to this Request to the extent it
       seeks documents or materials protected by the attorney-client privilege or the work
       product doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Notwithstanding these objections, the MWK Entities will produce any
       draft versions of the Revolving Loan Agreement in their possession as soon as
       practicable after service of the MWK Entities’ Responses and Objections.
      4.      All documents or communications related to the negotiation or execution of
the Revolving Loan Agreement (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications related to” the “negotiation or execution” of the
       Revolving Loan Agreement is vague, ambiguous, and not sufficiently defined to allow
       the MWK Entities to conduct a reasonable search for responsive materials. The MWK
       Entities further object to this Request to the extent it seeks documents or materials
       protected by the attorney-client privilege or the work product doctrine and will withhold
       such documents on that basis, and description of said documents will be reflected in a
       privilege log that MWK Entities will disclose within a reasonable time.. Notwithstanding


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       these objections, the MWK Entities will produce any draft versions of the Revolving
       Loan Agreement in our possession within 14 days of service of these Responses and
       Objections.
       5.     All documents or communications related to any attempt to collect on or
enforce the Revolving Loan Agreement (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications related to any attempt” to collect on the Revolving Loan
       Agreement is vague, ambiguous, and not sufficiently defined to allow the MWK Entities
       to conduct a reasonable search for responsive materials. The words “any attempt”
       require clarification. The MWK Entities further object to this Request to the extent it
       seeks documents or materials protected by the attorney-client privilege or the work
       product doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Notwithstanding the foregoing objections, the MWK Entities answer
       that this lawsuit is their first attempt to collect on the Revolving Loan Agreement and
       Jowers should see the Second Amended Complaint.
       6.    All accounting records relating to the Revolving Loan Agreement (as defined
in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “accounting records relating to” the Revolving Loan Agreement is vague, ambiguous,
       and not sufficiently defined to allow the MWK Entities to conduct a reasonable search
       for responsive materials. The MWK Entities respond that they will interpret this as a
       request for an accounting of payments and disbursements made under the Revolving
       Loan Agreement and refer Jowers to his paystub and commission spreadsheet records, a
       copy of which will be produced with these Responses and Objections or within 14 days
       of service of same.
      7.     All documents or communications relating to the balance on or calculation
of amounts due under the Revolving Loan Agreement (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications relating to the balance on” the Revolving Loan
       Agreement is vague, ambiguous, and not sufficiently defined to allow the MWK Entities
       to conduct a reasonable search for responsive material. The MWK Entities will interpret
       this Request as a request for an accounting of payments and disbursements made under
       the Revolving Loan Agreement and refer Jowers to his paystub and commission
       spreadsheet records, a copy of which will be produced with these Responses and
       Objections or within 14 days of service of same.


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       8.     All documents or communications related to the negotiation or execution of
the 2012 Forgivable Loan (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications related to” the “negotiation or execution” of the 2012
       Forgivable Loan is vague, ambiguous, and not sufficiently defined to allow the MWK
       Entities to conduct a reasonable search for responsive materials. The MWK Entities
       further object to this Request to the extent it seeks documents or materials protected by
       the attorney-client privilege or the work product doctrine and will withhold such
       documents on that basis, and description of said documents will be reflected in a
       privilege log that MWK Entities will disclose within a reasonable time.. Notwithstanding
       these objections, we will produce any draft versions of the Revolving Loan Agreement
       in our possession as soon as practicable.
       9.     All documents or communications related to any attempt to collect on or
enforce the 2012 Forgivable Loan (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications related to any attempt” to collect on the 2012 Forgivable
       Loan is vague, ambiguous, and not sufficiently defined to allow the MWK Entities to
       conduct a reasonable search for responsive materials. The words “any attempt” require
       clarification. The MWK Entities further object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Notwithstanding the foregoing objections, the MWK Entities answer
       that this lawsuit is their first attempt to collect on the 2012 Forgivable Loan and Jowers
       should see the Second Amended Complaint.
      10.    All accounting records relating to the 2012 Forgivable Loan (as defined in
the Complaint).
       RESPONSE: The MWK Entities object to this Request because this request for
       “accounting records relating to” the 2012 Forgivable Loan is vague, ambiguous, and not
       sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. The MWK Entities respond that they will interpret this as a request
       for an accounting of payments and disbursements made under the 2012 Forgivable Loan
       and refer Jowers to the paystub records to be produced with these Responses and
       Objections or within 14 days of service of same.
      11.    All documents or communications relating to the balance on or calculation
of amounts due under the 2012 Forgivable Loan (as defined in the Complaint).


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      RESPONSE: The MWK Entities object to this Request because this request for
      “documents or communications relating to the balance on” the 2012 Forgivable Loan
      is vague, ambiguous, and not sufficiently defined to allow the MWK Entities to conduct
      a reasonable search for responsive material. The MWK Entities will interpret this
      Request as a request for an accounting of payments and disbursements made under the
      2012 Forgivable Loan and refer Jowers to his paystub and commission spreadsheet
      records, a copy of which will be produced with these Responses and Objections or within
      14 days of service of same.
      12.     All documents or communications concerning Jowers’s salary or other
compensation (e.g., bonuses, reimbursements, performance compensation, etc.).
      RESPONSE: The MWK Entities object to this Request because this request for
      “documents or communications concerning” Jowers’s “salary of other compensation”
      is vague, ambiguous, and not sufficiently defined to allow the MWK Entities to conduct
      a reasonable search for responsive material. The MWK Entities further object to this
      Request to the extent it seeks documents or materials protected by the attorney-client
      privilege or the work product doctrine and will withhold such documents on that basis,
      and description of said documents will be reflected in a privilege log that MWK Entities
      will disclose within a reasonable time.. The MWK Entities refer Jowers to his 2006
      Employment Agreement and will produce documents evidencing amendments to
      Jowers’s base and bonus compensation such as can be located after a diligent search.
      13.     The original, digital copy of the First Assignment (as defined in the Complaint).
      RESPONSE: The MWK Entities object and are unable to formulate a response because
      the term “original, digital copy” is vague, ambiguous, and not sufficiently defined to
      allow Jowers to conduct a reasonable search for responsive materials. This request also
      appears to seek irrelevant information for which the burden and expense of production is
      outweighed by the complete lack of any benefit to Jowers in supporting any of his claims
      or defenses and is, therefore, unduly burdensome.
      14.     The original, digital copy of the Second Assignment (as defined in the
Complaint).
      RESPONSE: The MWK Entities object and are unable to formulate a response because
      the term “original, digital copy” is vague, ambiguous, and not sufficiently defined to
      allow Jowers to conduct a reasonable search for responsive materials. This request also
      appears to seek irrelevant information for which the burden and expense of production is
      outweighed by the complete lack of any benefit to Jowers in supporting any of his claims
      or defenses and is, therefore, unduly burdensome.
      15.     The original, digital copy of the Third Assignment (as defined in the Complaint).


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       RESPONSE: The MWK Entities object and are unable to formulate a response because
       the term “original, digital copy” is vague, ambiguous, and not sufficiently defined to
       allow Jowers to conduct a reasonable search for responsive materials. This request also
       appears to seek irrelevant information for which the burden and expense of production is
       outweighed by the complete lack of any benefit to Jowers in supporting any of his claims
       or defenses and is, therefore, unduly burdensome.
       16.   The original, digital copy of the Fourth Assignment (as defined in the Complaint).
       RESPONSE: The MWK Entities object and are unable to formulate a response because
       the term “original, digital copy” is vague, ambiguous, and not sufficiently defined to
       allow Jowers to conduct a reasonable search for responsive materials. This request also
       appears to seek irrelevant information for which the burden and expense of production is
       outweighed by the complete lack of any benefit to Jowers in supporting any of his claims
       or defenses and is, therefore, unduly burdensome.
       17.     All documents or communications representing all trade secrets or
confidential information you claim Jowers has misappropriated. Specifically identify each
document or communication.
       RESPONSE: The MWK Entities object to this Request because this request because
       “documents or communications representing” is vague, ambiguous, and not sufficiently
       defined to allow the MWK Entities to conduct a reasonable search for responsive
       material. The MWK Entities also object to the extent that this Request seeks privileged
       communications or work product and will not produce documents so privileged, and
       description of said documents will be reflected in a privilege log that MWK Entities will
       disclose within a reasonable time.. The MWK Entities are still in the process of
       discovering all of the trade secrets and confidential information misappropriated by
       Jowers and will produce responsive documents supporting their claims in this matter after
       a diligent search, currently anticipated to be within 14 days of the date of service of these
       Responses and Objections. The MWK Entities refer to the production received from
       Latham & Watkins pursuant to MWK’s subpoena, produced to Jowers’s counsel January
       29, 2020. Further responsive documents will be produced as soon as practicable;
       however, the MWK Entities object to the request’s direction to specifically identify the
       documents as the documents already speak for themselves.
       18.    All documents or communications reflecting every instance in which Jowers
accessed any database(s) that you contend contain trade secrets or confidential information.
       RESPONSE: The MWK Entities object to this Request because this request for
       “documents or communications reflecting every instance” of Jowers’s accessing the
       MWK Entities’ databases is vague, ambiguous, and not sufficiently defined to allow the
       MWK Entities to conduct a reasonable search for responsive material. The MWK

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        Entities possess records of some of Jowers’s and Vinokurova’s logins to MWK’s
        Salesforce database and will produce such records herewith or, if not, then within 14
        days of the date hereof. Further, communications between Jowers and his fellow
        employees at Kinney Recruiting contained trade secrets and confidential information in
        each instance in which those communications referred to candidates’ or clients’ needs,
        desires, and confidential information. To the extent that this request seeks evidence of
        every such communication, this Request is overbroad and MWK will not respond, but
        the MWK Entities will produce such records as are available after conferring with
        Jowers’s counsel regarding reasonable search parameters and conducting a diligent
        search.
         19.    All documents or communications pertaining to all of your policies or
 practices related to the protection of trade secrets or confidential information.
        RESPONSE: MWK Entities object that “documents or communications pertaining to”
        is vague, ambiguous, and overbroad to the extent it requests evidence of every
        communication between management of the MWK Entities and its employees related to
        policies and practices related to protection of trade secrets. To the extent that this request
        seeks copies of other employees’ employment agreements, it is overbroad and seeks
        irrelevant information, and the MWK Entities will not produce such records unless
        Jowers’s counsel can articulate a relevant basis for forcing such production. The MWK
        Entities further object to this Request to the extent it seeks documents or materials protected
        by the attorney-client privilege or the work product doctrine and will withhold such
        documents on that basis, and description of said documents will be reflected in a privilege
        log that MWK Entities will disclose within a reasonable time.. Responsive documents
        include the employment agreement signed by Jowers, which is already in his possession
        and of record in this case. Further relevant, non-privileged responsive documents such
        as are able to be located after diligent search will be produced as soon as practicable.
        20.    Copies of all employment policies and employee handbooks in effect on
December 16, 2016, including but not limited to any policies relating to retention of e-mails
upon termination of employment.
        RESPONSE: MWK Entities object that “policies and employee handbooks” is vague,
        ambiguous, and overbroad to the extent it requests evidence of every communication
        between management of the MWK Entities and its employees related to its expectations
        regarding retention of emails upon termination of employment. This Request’s use of
        “retention of e-mails” is also ambiguous in that it is unclear whose retention of email is
        meant. MWK Entities respond that they did not have any officially published employee
        manual or handbooks in effect on December 16, 2016, but they will conduct a diligent
        search related to communications conveying expectations regarding email message


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       retention after conferring with Jowers’s counsel regarding relevant keyword searches and
       will provide such responsive material thereafter within 14 days.
        21.    All documents or communications evidencing the purported value of the trade
secrets you contend that Jowers has misappropriated.
       RESPONSE: The MWK Entities object to the Request for “all documents or
       communications evidencing” the value of a candidate placement because it is vague,
       ambiguous, and not sufficiently defined to allow the MWK Entities to conduct a reasonable
       search for responsive materials. The MWK Entities further object to this Request to the
       extent it seeks documents or materials protected by the attorney-client privilege or the work
       product doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. The MWK Entities respond that they will instead produce documents that
       they may use to support their contention that the candidate identities and other information
       Jowers had when he departed the employment of Kinney Recruiting LLC were valuable
       property of the MWK Entities.
       22.     All documents or communications between you and James Chang.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you” is vague, ambiguous, and not sufficiently
       defined to allow the MWK Entities to conduct a reasonable search for responsive materials.
       The MWK Entities also object to this Request as overbroad and not limited to the relevant
       issues in this case because it seeks “all documents or communications between [each and
       every MWK Entity] and James Chang” without limiting or defining the subject matter of the
       documents or communications. The MWK Entities respond that they will instead produce
       documents that reflect communications between James Chang and Robert Kinney, if any,
       limited to the issues, claims, and defenses in this case, that can be located after a reasonable
       and diligent search, and will do so within 14 days of the date hereof.
       23.     All documents or communications between you and Longhao Zhang.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you” is vague, ambiguous, and not sufficiently
       defined to allow the MWK Entities to conduct a reasonable search for responsive materials.
       The MWK Entities also object to this Request as overbroad and not limited to the relevant
       issues in this case because it seeks “all documents or communications between [each and
       every MWK Entity] and Longhao Zhang” without limiting or defining the subject matter of
       the documents or communications. The MWK Entities respond that they will instead
       produce documents that reflect communications between Longhao Zhang and Robert
       Kinney, if any, limited to the issues, claims, and defenses in this case, that can be located
       after a reasonable and diligent search, and will do so within 14 days of the date hereof.


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     24.    All documents or communications between you and Richard Han.
     RESPONSE: The MWK Entities object to this Request because this Request for
     “documents or communications between you” is vague, ambiguous, and not sufficiently
     defined to allow the MWK Entities to conduct a reasonable search for responsive
     materials. The MWK Entities also object to this Request as overbroad and not limited to
     the relevant issues in this case because it seeks “all documents or communications
     between [each and every MWK Entity] and Richard Han” without limiting or defining
     the subject matter of the documents or communications. The MWK Entities respond that
     they will instead produce documents that reflect communications between Richard Han
     and Robert Kinney, if any, limited to the issues, claims, and defenses in this case, that
     can be located after a reasonable and diligent search, and will do so within 14 days of
     the date hereof. Subject to these objections, the MWK Entities are not aware of any
     responsive documents but if any are found they will be produced as soon as practicable
     after the date of the MWK Entities’ Responses and Objections.
     25.    All documents or communications between you and Pamela Usukumah.
     RESPONSE: The MWK Entities object to this Request because this Request for
     “documents or communications between you” is vague, ambiguous, and not sufficiently
     defined to allow the MWK Entities to conduct a reasonable search for responsive
     materials. The MWK Entities also object to this Request as overbroad and not limited to
     the relevant issues in this case because it seeks “all documents or communications
     between [each and every MWK Entity] and Pamela Usukumah” without limiting or
     defining the subject matter of the documents or communications. The MWK Entities
     respond that they will instead produce documents that reflect communications between
     Robert Kinney and Pamela Usukumah, if any, limited to the issues, claims, and defenses
     in this case, that can be located after a reasonable and diligent search, and will do so
     within 14 days of the date hereof.
     26.    All documents or communications between you and Claudia Lau.
     RESPONSE: The MWK Entities object to this Request because this Request for
     “documents or communications between you” is vague, ambiguous, and not sufficiently
     defined to allow the MWK Entities to conduct a reasonable search for responsive
     materials. The MWK Entities also object to this Request as overbroad and not limited to
     the relevant issues in this case because it seeks “all documents or communications
     between [each and every MWK Entity] and Claudia Lau” without limiting or defining
     the subject matter of the documents or communications. The MWK Entities respond that
     they will instead produce documents that reflect communications between Robert
     Kinney and Claudia Lau, if any, limited to the issues, claims, and defenses in this case,
     that can be located after a reasonable and diligent search, and will do so within 14 days

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       of the date hereof. Subject to the foregoing, the MWK Entities respond that there was no
       person by this name present in the MWK Entities’ relevant databases after a diligent
       search, but that there may be documents related to someone named Claudia Lai, and the
       MWK Entities will read this request to refer to Claudia Lai.
       27.    All documents or communications between you and Xiao Zhang.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you” is vague, ambiguous, and not sufficiently
       defined to allow the MWK Entities to conduct a reasonable search for responsive
       materials. The MWK Entities also object to this Request as overbroad and not limited to
       the relevant issues in this case because it seeks “all documents or communications
       between [each and every MWK Entity] and Xiao Zhang” without limiting or defining
       the subject matter of the documents or communications. The MWK Entities respond that
       they will instead produce documents that reflect communications between Robert
       Kinney and Xiao Zhang, if any, limited to the issues, claims, and defenses in this case,
       that can be located after a reasonable and diligent search, and will do so within 14 days
       of the date hereof.
       28.    All documents or communications between you and any agent or representative
of Kirkland & Ellis LLP concerning or relating to Jowers, any candidate allegedly placed
by Jowers, or any candidate that Jowers attempted to place.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you….relating to” is vague, ambiguous, and
       not sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. The MWK Entities also object to this Request as overbroad and
       not limited to the relevant issues in this case because it seeks “all documents or
       communications between [each and every MWK Entity]” and “any agent or
       representative” of Kirkland & Ellis, without sufficiently limiting or defining the subject
       matter of the documents or communications and the timing of same. Discovery
       regarding what candidates were placed by Jowers at Kirkland & Ellis after he left
       Kinney Recruiting is still ongoing. The MWK Entities respond that they will instead
       produce documents that reflect communications between Robert Kinney and the General
       Counsel’s office of Kirkland & Ellis, if any, limited to the issues, claims, and defenses
       in this case, that can be located after a reasonable and diligent search, and will do so
       within 14 days of the date hereof.
       29.    All documents or communications between you and any agent or representative
of any law firm from January 1, 2016, to present concerning or relating to Jowers, any
wrongdoing you allege against Jowers, Jowers’s work performance, any candidate allegedly
placed by Jowers, or any candidate that Jowers allegedly attempted to place.

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       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you and any agent…of any law firm” is vague,
       ambiguous, and not sufficiently defined to allow the MWK Entities to conduct a
       reasonable search for responsive materials. The MWK Entities also object to this
       Request as overbroad and not limited to the relevant issues in this case because it seeks
       “all documents or communications between [each and every MWK Entity] each and
       every law firm that “relates” in any way to Jowers, without limiting or defining the
       subject matter of the documents or communications. The MWK Entities object to this
       Request to the extent it seeks documents or materials protected by the attorney-client
       privilege or the work product doctrine and will withhold such documents on that basis, and
       description of said documents will be reflected in a privilege log that MWK Entities will
       disclose within a reasonable time.. Subject to the foregoing objections, the MWK
       Entities respond that they will instead use keyword searches agreed between the parties
       to locate and produce non-privileged documents related to the issues, claims, and
       defenses in this case, which mention Jowers and were sent to or received from law firm
       agents or representatives identified specifically by Jowers.
        30.  All documents or communications that discuss or refer to Jowers, Legis
Ventures, Jowers/Vargas, Yuliya Vinokurova, or Alejandro Vargas from January 1, 2016, to
present.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications that discuss or refer to” Jowers, Legis Ventures,
       Jowers/Vargas, Yuliya Vinokurova, or Alejandro Vargas is vague, ambiguous, and not
       sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. The MWK Entities also object to this Request as overbroad and
       not limited to the relevant issues in this case because it does not limit the requested
       documents or communications to those that were sent by any of the MWK Entities. The
       MWK Entities respond that they will instead use keyword searches agreed between the
       parties to locate and produce non-privileged documents related to the issues, claims, and
       defenses in this case, which mention relevant parties, and were transmitted by one of the
       MWK Entities but not by Jowers or Vinokurova.
        31.    All documents or communications between you and any attorney candidate
that discuss or refer to Jowers, Legis Ventures, Jowers/Vargas, Yuliya Vinokurova, or
Alejandro Vargas from January 1, 2016, to present.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you and any” attorney candidate is vague,
       ambiguous, and not sufficiently defined to allow the MWK Entities to conduct a
       reasonable search for responsive materials. The MWK Entities also object to this Request


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       as overbroad and not limited to the relevant issues in this case because it seeks “all
       documents or communications between [each and every MWK Entity] each and every
       attorney candidate that might “refer to” any of the noted parties. The MWK Entities also
       object to this Request to the extent it seeks documents or materials protected by the
       attorney-client privilege or the work product doctrine and will withhold such documents
       on that basis, and description of said documents will be reflected in a privilege log that
       MWK Entities will disclose within a reasonable time.. Subject to the foregoing
       objections, the MWK Entities respond that they will instead use keyword searches agreed
       between the parties to locate and produce non-privileged documents related to the issues,
       claims, and defenses in this case, which mention any relevant party and were sent to or
       received from persons who are identified specifically by Jowers.
      32.     All documents or communications between you and Jowers between January
1, 2006, and December 31, 2006.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications between you and Jowers” is vague, ambiguous, and not
       sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. The MWK Entities also object to this Request as overbroad and not
       limited to the relevant issues in this case because it seeks “all documents or
       communications between [each and every MWK Entity] and Jowers.” Subject to the
       foregoing objection, the MWK Entities have located email communications between
       Kinney and Jowers during this time period and these are being reviewed for privilege and
       will be produced as soon as practicable, currently anticipated to be within 14 days of the
       date hereof, insofar as they relate to any of the issues, claims, or defenses in this case.
       33.   All documents or communications related to the negotiation and execution of
the Jowers Agreement (as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications related to” the negotiation and execution of the Jowers
       Agreement is vague, ambiguous, and not sufficiently defined to allow the MWK Entities
       to conduct a reasonable search for responsive materials. This request also appears to seek
       irrelevant information in that communications between Jowers and the MWK Entities ten
       years before Jowers’s resignation do not appear to be related to any claim, issue or
       defense in this case. The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Subject to the foregoing objection, the MWK Entities have located
       communications between Kinney and Jowers during this time period and these are being


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       reviewed for privilege and will be produced as soon as practicable following service of
       these Responses and Objections, currently anticipated to be within 14 days.
       34.     All documents or communications related to the alleged MWK Candidates
(as defined in the Complaint).
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications related to” the MWK Candidates is vague, ambiguous,
       and not sufficiently defined to allow the MWK Entities to conduct a reasonable search
       for responsive materials. This request is also not reasonably limited in time or with regard
       to the sender/recipient, or type of communication, and is thus overbroad. This request
       also seeks irrelevant information to the extent that it seeks documents or communications
       related to the MWK Entities efforts to mitigate the damages caused by Jowers by using a
       third party to send out candidates. The MWK Entities also object to this Request to the
       extent it seeks documents or materials protected by the attorney-client privilege or the
       work product doctrine and will withhold such documents on that basis, and description of
       said documents will be reflected in a privilege log that MWK Entities will disclose within
       a reasonable time.. This request is overbroad to the extent that it requests evidence of
       internal communications between MWK Entity representatives and/or their counsel
       related to the MWK Candidates. Subject to the foregoing, relevant responsive
       documents reflecting communications with clients regarding the MWK Candidates and
       with the MWK Candidates themselves (James Chang, Longhao Zhang, Richard Han,
       Pamela U, Claudia Lau, and Xiao Zhang) will be produced within 14 days after service
       of the MWK Entities’ Responses and Objections.
      35.    All documents or communications related to any candidate or placement that
you contend breached any contract at issue in this Lawsuit.
       RESPONSE: The MWK Entities object to this Request because this Request for
       documents or communications related to “any candidate or placement that…breached”
       any contract at issue in this lawsuit is vague, ambiguous, and not sufficiently defined to
       allow the MWK Entities to conduct a reasonable search for responsive materials. This
       request is also not reasonably limited in time or with regard to the sender/recipient, or
       type of communication, and is thus overbroad. The MWK Entities also object to this
       Request to the extent it seeks documents or materials protected by the attorney-client
       privilege or the work product doctrine and will withhold such documents on that basis,
       and description of said documents will be reflected in a privilege log that MWK Entities
       will disclose within a reasonable time.. The MWK Entities are unable to formulate a
       response or conduct a reasonable search for documents responsive to this request, but
       will meet and confer regarding relevant keyword searches that may be conducted to limit



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       the documents and communications sought and will produce relevant, responsive
       documents within 14 days.
       36.   All documents or communications related to any advancement of funds to
Jowers, whether styled as a “loan,” as an “advance,” or any other classification.
       RESPONSE: This request is overbroad and unduly burdensome to the extent that it
       requests irrelevant internal communications related to funds advanced to Jowers. The
       MWK Entities also object to this Request to the extent it seeks documents or materials
       protected by the attorney-client privilege or the work product doctrine and will withhold
       such documents on that basis, and description of said documents will be reflected in a
       privilege log that MWK Entities will disclose within a reasonable time.. Subject to the
       foregoing, the MWK Entities have isolated all email messages between relevant parties
       with whom Jowers dealt related to requests for advancement of funds and draws on his
       loans. These documents are being reviewed for privilege and non-privileged responsive
       documents will be produced as soon as practicable after the date of the MWK Entities’
       Responses and Objections, currently anticipated to be within 14 days of the date hereof.
       37.    All documents or communications concerning the restrictive covenants
contained in the Jowers Agreement.
       RESPONSE: This request is overbroad and unduly burdensome to the extent it requests
       parole evidence related to the restrictive covenants. The MWK Entities also object to this
       Request to the extent it seeks documents or materials protected by the attorney-client
       privilege or the work product doctrine and will withhold such documents on that basis,
       and description of said documents will be reflected in a privilege log that MWK Entities
       will disclose within a reasonable time.. The MWK Entities have preserved all
       communications between Jowers and Kinney who are the signatories to the document
       containing the restrictive covenants. They are being reviewed for privilege and
       responsive documents will be produced within 14 days after service of the MWK
       Entities’ Responses and Objections.
       38.    All documents or communications between you and any other person (other
than a person acting as your legal counsel) concerning any threatened or filed lawsuit
involving you from 2006 to present.
      RESPONSE: The MWK Entities object to the Request because the documents requested
      are not relevant to any claim or defense and the MWK Entities will withhold production of
      documents responsive to this Request on this basis until a relevant basis for the Request
      that outweighs its significant burden is articulated. The MWK Entities also object to this
      Request to the extent it seeks documents or materials protected by the attorney-client
      privilege or the work product doctrine and will withhold such documents on that basis,


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      and description of said documents will be reflected in a privilege log that MWK Entities
      will disclose within a reasonable time..
      39.    All documents or communications evidencing any transfer of assets between
or among any of the Counter-defendants, including Kinney personally.
      RESPONSE: The MWK Entities object to the Request because the documents requested
      are not relevant to any claim or defense and the MWK Entities will withhold production of
      documents responsive to this on this basis until a relevant basis for the Request that
      outweighs its significant burden is articulated. The MWK Entities also object to this
      Request to the extent it seeks documents or materials protected by the attorney-client
      privilege or the work product doctrine and will withhold such documents on that basis,
      and description of said documents will be reflected in a privilege log that MWK Entities
      will disclose within a reasonable time..
       40.     All documents or communications concerning your decision to temporarily
freeze payroll in 2012.
       RESPONSE: The MWK Entities object to this Request because the words “temporarily
       freeze payroll” are vague, ambiguous, and not sufficiently defined to permit the MWK
       Entities to formulate a response. Further, the MWK Entities object to the extent that the
       documents and communications are not relevant to any claim, issue, or defense in this
       lawsuit. Moreover, the request is vague and thus the MWK Entities are unable to
       formulate a response or conduct a reasonable search for documents. Subject to the
       foregoing, the MWK Entities’ counsel will meet and confer with Jowers’s counsel to
       attempt to determine what keyword searches of relevant information might produce
       responsive documents.
       41.    All documents or communications evidencing the ownership structure of the
Kinney Entities and any other entity in which Kinney or Michelle W. Kinney is an
owner, member, officer, director, manager, principal, or agent.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense and the MWK Entities will withhold production
       of documents responsive to this on this basis until a relevant basis for the Request that
       outweighs its significant burden is articulated. Moreover, the request is overbroad and
       thus the MWK Entities are unable to formulate a response or conduct a reasonable
       search for documents. To the extent Jowers seeks irrelevant documents, this request is
       unduly burdensome. The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time..

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       42.      All documents or communications reflecting any payment or reimbursement
by Jowers of marketing expenses related to Abovethelaw.com or any of its parents,
subsidiaries, or affiliates during 2008 and 2009. For the purposes of this request, “payment”
and “reimbursement” include, without limitation, deductions from commissions earned.
       RESPONSE: The MWK Entities object to this Request because “payment or
       reimbursement by Jowers of marketing expenses” is not sufficiently defined to permit the
       MWK Entities to conduct a reasonable search for relevant documents or
       communications. Further, the Request does not appear to seek production of documents
       requested or communications that are not related to any issue, claim, or defense. Subject
       to the foregoing, the MWK Entities will meet and confer in order to determine what
       specific documents Jowers is seeking and will conduct keyword searches in order to
       determine if there are relevant documents or communications.
       43.      All documents or communications between you and any agent, employee, or
representative of Breaking Media or Abovethelaw.com, or any of their parents, subsidiaries,
or affiliates, in which Jowers’s name or a reference to him appears.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents or communications” is vague, ambiguous, and not sufficiently defined to
       allow the MWK Entities to conduct a reasonable search for responsive materials. The
       MWK Entities also object to this Request as overbroad and not limited to the relevant
       issues in this case because it seeks “all documents and communications between [any
       MWK Entity] and any agent, employee, or representative of Breaking Media or
       Abovethelaw.com,” etc., without limiting or defining the subject matter of the documents
       or communications. The MWK Entities respond that they will instead produce
       documents that reflect communications between Robert Kinney and specific persons
       identified by Jowers, limited to the issues, claims, and defenses in this case, that can be
       located after a reasonable and diligent search, and will do so within 14 days of the date
       hereof.
      44.   All documents or communications concerning or relating to a written
employment agreement between Kinney Recruiting HK and Jowers, whether in draft or final
form.
       RESPONSE: The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Responsive documents will be produced within 14 days after service
       of the MWK Entities’ Responses and Objections.



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       45.  All documents or communications concerning an actual or potential Hong
Kong work visa for Jowers, or an actual or potential application for a Hong Kong work visa for
Jowers.
       RESPONSE: The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. Plaintiff objects to the request because the documents requested are not
       relevant to any claim or defense, and will withold production of documents responsive to
       this on this basis until a relevant basis for the Request that outweighs its significant
       burden is articulated.
        46.    All documents or communications related to Hong Kong office expenses,
including but not limited to: (i) efforts to obtain an office and any payment of rents for
office space, (ii) payment of Jowers’s housing costs, (iii) payment of Jowers’s work-related
expenses, such as travel or client entertainment, and (iv) discussions concerning a subsidy on
housing costs in lieu of office rent.
       RESPONSE: With respect to 46(i), the request is overbroad and thus the MWK
       Entities are unable to formulate a response or conduct a reasonable search for
       documents. With respect to 46(ii), responsive documents will be produced within 14
       days after service of the MWK Entities’ Responses and Objections. With respect to
       46(iii), responsive documents will be produced within 14 days after service of the MWK
       Entities’ Responses and Objections. With respect to 46(iv), the request is vague and thus
       the MWK Entities are unable to formulate a response or conduct a reasonable search for
       documents.
      47.     All documents or communications between you and anyone else concerning
your decision in 2009 to reduce Jowers’s commission to a flat fee of 45%.
       RESPONSE: The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time.. The MWK Entities object to the request because the documents
       requested, specifically 2009 documents or communications, are not relevant to any claim
       or defense. The MWK Entities will nevertheless conduct a diligent search within 14 days
       and provide any responsive documents.
      48.    All documents or communications relating to any change in Jowers’s
commission rate from 2006 through 2016.


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       RESPONSE: With respect to documents or communications from 2012-2016,
       responsive documents will be produced within 14 days after service of the MWK
       Entities’ Responses and Objections. With respect to documents or communications from
       2006-2012, the MWK Entities object to the request because the documents requested are
       not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated. As such, the request is overbroad and unduly
       burdensome. The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time..
      49.     All documents or communications reflecting how the Hui Xu placement fee
was distributed after it was received in 2016, including how Jowers’s $48,000
commission was accounted for.
       RESPONSE: The MWK Entities object to this request because it is vague in that “how
       the …placement fee was distributed” is vague, ambiguous, and potentially overbroad.
       Further, the reference to $48,000 is vague and ambiguous in its origins. Subject to the
       foregoing, responsive documents related to how any relevant commissions paid for the
       placement of Hui Zhu will be produced within 14 days after service of the MWK
       Entities’ Responses and Objections.
        50.     All documents or communications related to the placement of Lisa Berger,
including all documents or communications related to Jowers’s commission for same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents
       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
       51.     All documents or communications related to the placement of Deborah Im,
including all documents or communications related to Jowers’s commission for same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents

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       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
       52.     All documents or communications related to the placement of Po Ying Lo,
including all documents or communications related to Jowers’s commission for same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents
       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
       53.     All documents or communications related to the placement of Fang Xu,
including all documents or communications related to Jowers’s commission for the same.
       RESPONSE: The MWK Entities are not in possession of any information related to a
       candidate named Fang Xu. To the extent that this Request was meant to refer to Fang
       Xue, placed by Kinney Recruiting at Gibson Dunn in Beijing in 2013, this Request is
       overbroad and unduly burdensome to the extent that it seeks all “documents and
       communications” related in any way to the placement of a candidate whose placement is
       not at issue in this lawsuit. The Request also seeks information that is not relevant to on
       any issue, claim, or defense in this lawsuit. Subject to the foregoing, the MWK Entities
       have conducted a search and responsive documents relevant to issues, claims, or
       defenses in this lawsuit will be produced within 14 days after service of the MWK
       Entities’ Responses and Objections.
       54.     All documents or communications related to the placement of Dan Ouyang,
including all documents or communications related to Jowers’s commission for the same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents
       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
       55.     All documents or communications related to the placement of Ben Carale,
including all documents or communications related to Jowers’s commission for the same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a

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       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents
       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
      56.    All documents or communications related to the placement of David
Blumenthal, including all documents or communications related to Jowers’s commission for the
same.
       RESPONSE: The MWK Entities are not in possession of any information related to a
       candidate named David Blumenthal. To the extent that this Request was meant to refer
       to David Blumental, placed by Kinney Recruiting at Latham & Watkins in its Hong
       Kong office in March 2014, this Request is overbroad and unduly burdensome to the
       extent that it seeks all “documents and communications” related in any way to the
       placement of a candidate whose placement is not at issue in this lawsuit. The Request
       also seeks information that is not relevant to any issue, claim, or defense in this lawsuit.
       Subject to the foregoing, the MWK Entities have conducted a search and responsive
       documents relevant to issues, claims, or defenses in this lawsuit will be produced within
       14 days after service of the MWK Entities’ Responses and Objections.
      57.    All documents or communications related to the placement of Caitrin
McKiernan, including all documents or communications related to Jowers’s commission for the
same.
       RESPONSE: This Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks
       information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
       the foregoing, the MWK Entities have conducted a search and responsive documents
       relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
       after service of the MWK Entities’ Responses and Objections.
       58.    All documents or communications related to the placement of Alpasan
Basaran, including all documents or communications related to Jowers’s commission for the
same.
       RESPONSE: The MWK Entities are not in possession of any information related to a
       candidate named Alpasan Basaran. To the extent that this Request was meant to refer to
       Alpaslan Basaran, placed by Robert Kinney and Daniel Roark at Pepper Hamilton in
       New York in 2016, this Request is overbroad and unduly burdensome to the extent that it
       seeks all “documents and communications” related in any way to the placement of a
       candidate whose placement is not at issue in this lawsuit. The Request also seeks

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      information that is not relevant to any issue, claim, or defense in this lawsuit. Subject to
      the foregoing, the MWK Entities have conducted a search and responsive documents
      relevant to issues, claims, or defenses in this lawsuit will be produced within 14 days
      after service of the MWK Entities’ Responses and Objections.
       59.    All documents or communications reflecting commissions earned by Jowers
during his employment or work for any of the Kinney Entities, including when those
amounts were earned, when they were paid to Jowers, and at what rate they were paid.
      RESPONSE: The request is overbroad and thus the MWK Entities are unable to
      formulate a response or conduct a reasonable search for documents. The MWK Entities
      also object to this Request to the extent it seeks documents or materials protected by the
      attorney-client privilege or the work product doctrine and will withhold such documents
      on that basis, and description of said documents will be reflected in a privilege log that
      MWK Entities will disclose within a reasonable time..
     60.     All communications between you and Jowers from July 1, 2016, through
December 31, 2016.
      RESPONSE: The request is overbroad and thus the MWK Entities are unable to
      formulate a response or conduct a reasonable search for documents. The MWK Entities
      have preserved all email and chat communications between Jowers, Vinokurova, and
      employees of the MWK Entities during the referenced time period and will produce
      responsive documents reasonably limited by keyword searches.
      61.    All documents or communications concerning your decision to remove
Jowers from payroll.
     RESPONSE: The request is vague and ambiguous and thus the MWK Entities are unable
     to formulate a response or conduct a reasonable search for documents. The MWK Entities
     also object to this Request to the extent it seeks documents or materials protected by the
     attorney-client privilege or the work product doctrine and will withhold such documents
     on that basis, and description of said documents will be reflected in a privilege log that
     MWK Entities will disclose within a reasonable time.. Subject to the foregoing
     objections, the MWK Entities respond that they did not remove Jowers from payroll until
     he resigned, after which they discovered his thefts and breaches of contract.
     62.    All documents or communications between you and Meng Ding from
December 16, 2016, to present.
      RESPONSE: Responsive documents will be produced within 14 days after service of
      the MWK Entities’ Responses and Objections.




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       63.    All documents or communications from December 16, 2016, to present,
between you and any attorney candidate that you claim Jowers worked with in violation
of a non- solicitation agreement or any other restrictive covenant.
       RESPONSE: Responsive documents will be produced within 14 days after service of
       the MWK Entities’ Responses and Objections.
       64.    All documents or communications from May 2006 to present concerning
Jowers’s health and/or the effects of his work schedule on his physical or mental well-being.
       RESPONSE: The MWK Entities object to the Request because “concerning Jowers’s
       health” is vague and ambiguous. Further, the MWK Entities object to this Request
       because the documents and communications requested are not relevant to any issue,
       claim or defense in this lawsuit, especially when there are no claims for physical or
       mental injury.
       65.    All documents or communications from May 2006 to present between you
and any employee of the Kinney Entities concerning or relating to non-solicitation agreements,
non- competition agreements, and/or any other restrictive covenant contained in agreements
with such employee’s former employer.
       RESPONSE: The MWK Entities object to this Request because the Request is
       ambiguous as to the parties to the agreements it references. The MWK Entities further
       object to the request because the documents requested are not relevant to any issue, claim
       or defense in this lawsuit. The MWK Entities also object to this Request to the extent it
       seeks documents or materials protected by the attorney-client privilege or the work
       product doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time..
       66.    For each and every placement of an attorney candidate in Asia prior to May
1, 2006, documents sufficient to show: (i) the identity of the employees or attorney recruiters
who submitted and/or represented each candidate; and (ii) the identity of the attorney
candidate and the position and firm or company into which the candidate was placed.
       RESPONSE: The MWK Entities object to this Request because this Request for
       “documents sufficient to show” the matters listed is vague, ambiguous, and not
       sufficiently defined to allow the MWK Entities to conduct a reasonable search for
       responsive materials. Further, “an attorney candidate in Asia” is also vague, ambiguous,
       and not sufficiently so defined. The MWK Entities also object to this Request to the
       extent it seeks documents that are not relevant to any issue, claim, or defense in this
       lawsuit. Moreover, the request is overbroad and thus the MWK Entities are unable to



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       formulate a response or conduct a reasonable search for documents. This Request
       requires reformulation.
       67.     For each and every placement of an attorney candidate in Asia between May
1, 2006, and December 16, 2016, documents sufficient to show: (i) the identity of the
employees or attorney recruiters who submitted and/or represented each candidate; (ii) the
identity of the attorney candidate and the position and firm or company into which the
candidate was placed; (iii) the amount received in compensation for such placement; and (iv)
the amount of commission (or other payments) paid to any employee or attorney recruiter for
such placement.
      RESPONSE: The MWK Entities object to this Request because this Request for
      “documents sufficient to show” the matters listed is vague, ambiguous, and not
      sufficiently defined to allow the MWK Entities to conduct a reasonable search for
      responsive materials. Further, “an attorney candidate in Asia” is also vague, ambiguous,
      and not sufficiently so defined. The MWK Entities also object to this Request to the
      extent it seeks documents that are not relevant to any issue, claim, or defense in this
      lawsuit. Moreover, the request is overbroad and thus the MWK Entities are unable to
      formulate a response or conduct a reasonable search for documents. This Request
      requires reformulation.
        68.    For each and every placement of an attorney candidate in Asia from
December 16, 2016 to present, documents sufficient to show: (i) the identity of the employees
or attorney recruiters who submitted and/or represented each candidate; and (ii) the identity
of the attorney candidate and the position and firm or company into which the candidate was
placed.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
        69.   All documents or communications with any employee or attorney recruiter
concerning the failure or alleged failure to pay any commission (or other payment) to
such employee or attorney recruiter after the termination of such person’s employment or
relationship with any of the Kinney Entities.
       RESPONSE: The MWK Entities object to this Request because “failure to pay any
       commission” is ambiguous, vague, and thus unable to provide the basis for a proper
       search for responsive documents or communications. To the extent that this Request
       seeks all documents or communications related to any situation in which any former
       MWK Entity employee was disgruntled regarding his or her compensation upon
       termination of employment, this Request is also overbroad and the burden and expense of

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      producing it outweighs any possible benefit to Jowers as it is not relevant to any issue,
      claim or defense in this lawsuit. The MWK Entities will not respond to this request
      regarding any recruiter other than Evan Jowers unless Jowers can articulate a rationale
      need for this information that outweighs the burden and expense of producing it.
        70.    All documents or communications between you and Steven Holzman
regarding any dispute or disagreement over the payment of any amount arising out of or
related to the placement of an attorney candidate.
      RESPONSE: The MWK Entities object to this Request because “any dispute or
      disagreement” is ambiguous, vague, and thus unable to provide the basis for a proper
      search for responsive documents or communications. To the extent that this Request
      seeks all documents related to any disagreement Mr. Holzman had with management at
      MWK Entity related to the timing of payment of his commissions or his allocation of
      credit on individual transactions vis-à-vis other recruiters with whom he shared credit,
      this Request is also overbroad and the burden of responding to it outweighs any possible
      benefit to Jowers in obtaining this information as Mr. Holzman’s issues are not relevant
      to any issue, claim or defense in this lawsuit. The MWK Entities will not respond to this
      request on this basis
      71.    All documents or communications between you and Alexis Lamb between
August 1, 2012, and March 1, 2013.
      RESPONSE: The MWK Entities object to the Request because it is overly broad and
      thus unduly burdensome. Further, the MWK Entities object because the documents
      requested could possibly be relevant to any issue, claim or defense in this lawsuit. The
      MWK Entities will not respond to this request on this basis
       72.   All documents or communications between you and any person regarding
Alexis Lamb between August 1, 2012, and March 1, 2013.
      RESPONSE: The MWK Entities object to this Request because “all documents or
      communications” with “any person” related to Alexis Lamb is overbroad, ambiguous,
      vague, and thus unable to provide the basis for a proper search for responsive documents
      or communications. Additionally, the MWK Entities object because the documents and
      communications requested are burdensome and expensive to gather and review and not
      relevant to any issue, claim or defense in this lawsuit. The MWK Entities will not
      respond to this request on this basis. The MWK Entities also object to this Request to the
      extent it seeks documents or materials protected by the attorney-client privilege or the
      work product doctrine and will withhold such documents on that basis, and description of
      said documents will be reflected in a privilege log that MWK Entities will disclose within
      a reasonable time..


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       73.    All documents or communications between you and Danielle Cyr between
January 1, 2016, and December 31, 2016.
       RESPONSE: The MWK Entities object to the Request because it is overly broad and
       thus unduly burdensome. Further, it is not evident how the documents requested could be
       relevant to any issue, claim or defense in this lawsuit, yet they are burdensome and
       expensive to gather and review. The MWK Entities will not respond to this request.
       74.    All documents or communications between you and any person regarding
Danielle Cyr between January 1, 2016, and December 31, 2016.
       RESPONSE: The MWK Entities object to this Request because “all documents or
       communications” with “any person” related to Danielle Cyr is overbroad, ambiguous,
       vague, and thus unable to provide the basis for a proper search for responsive documents
       or communications. Additionally, the MWK Entities object because the documents and
       communications requested are burdensome and expensive to gather and not possibly
       relevant to any issue, claim or defense in this lawsuit. The MWK Entities also object to
       this Request to the extent it seeks documents or materials protected by the attorney-client
       privilege or the work product doctrine and will withhold such documents on that basis,
       and description of said documents will be reflected in a privilege log that MWK Entities
       will disclose within a reasonable time..
        75.    All documents or communications between you and Peter Gutensohn after
his departure from the Kinney Entities concerning or relating to profit sharing and/or your
efforts to negotiate the amount of profit sharing owed to him.
       RESPONSE: The MWK Entities object to this Request because “concerning or relating
       to profit sharing and/or your efforts to negotiate the amount of profit sharing” is
       ambiguous, vague, and thus unable to provide the basis for a proper search for responsive
       documents or communications. To the extent that this Request seeks all documents
       related to communications between the MWK Entities and Mr. Gutensohn regarding his
       compensation upon termination of his employment or otherwise, this Request is also
       overbroad. Additionally, the MWK Entities object because the documents and
       communications requested are burdensome and expensive to gather and not relevant to
       any issue, claim or defense in this lawsuit.
      76.    All documents or communications between you and any person after Peter
Gutensohn’s departure from the Kinney Entities concerning or relating to Peter
Gutensohn’s profit sharing.
       RESPONSE: : The MWK Entities object to this Request because “profit sharing” is
       ambiguous, vague, and thus unable to provide the basis for a proper search for responsive
       documents or communications. Additionally, the MWK Entities object because the


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       documents and communications requested are not relevant to any issue, claim or defense
       in this lawsuit. The MWK Entities also object to this Request to the extent it seeks
       documents or materials protected by the attorney-client privilege or the work product
       doctrine and will withhold such documents on that basis, and description of said
       documents will be reflected in a privilege log that MWK Entities will disclose within a
       reasonable time..
       77.   All documents or communications between you and Peter Gutensohn
concerning Peter Gutensohn’s commission or other compensation for the placement of Breen
Hair.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
       78.    All documents or communications reflecting the allocation of placement fees
for any attorney candidates with whom Josh Carr communicated during the 12 months
preceding his date of termination and the 6 months following his date of termination.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
       79.   Any employment agreements between Alexis Lamb and any Kinney Entity,
and all documents or communications regarding same.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
       80.    All documents or communications between you and any current or former
employee or other attorney recruiter, working on behalf or for any Kinney Entity, concerning
any disagreement or dispute over the amount of commission owed to such current or former
employee or other attorney recruiter after an attorney candidate was successfully placed.
       RESPONSE: The MWK Entities object to this Request because “any disagreement or
       dispute over the amount of commission owed” is ambiguous, vague, and thus unable to
       provide the basis for a proper search for responsive documents or communications. To
       the extent that this Request seeks all documents related to any disagreement any
       employee had with any MWK Entity related to his or her compensation, this Request is
       also overbroad. Additionally, the MWK Entities object because the documents and

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       communications requested are not relevant to any issue, claim or defense in this lawsuit.
       The MWK Entities will not respond to this request regarding any recruiter other than
       Jowers unless Jowers can articulate a rationale need for this information that outweighs
       the burden and expense of producing it.
       81.      All documents or communications between you and Paige Drewelow arising
out of or related to a dispute over her commissions, bonuses, or other compensation.
       RESPONSE: The MWK Entities object to this Request because “a dispute over her
       commissions,” etc., is ambiguous, vague, and thus unable to provide the basis for a
       proper search for documents or communications. To the extent that this Request seeks all
       documents related to any dispute the employee had with any person related to her
       compensation, this Request is also overbroad. Additionally, the MWK Entities object
       because the documents requested are not relevant to any issue, claim or defense in this
       lawsuit. The MWK Entities will not respond to this request on this basis.
        82.      All documents or communications between Eve Yao and any attorney candidate
during the first six months of her employment with you.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
        83.    All documents or communications between Jessica Chin Somers and any
attorney candidate during the first six months of her employment with you.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
        84.    All documents or communications between Katherine Loanxon and any attorney
candidate during the first six months of her employment with you.
       RESPONSE: The MWK Entities object to the request because the documents requested
       are not relevant to any claim or defense, and will withhold production of documents
       responsive to this on this basis until a relevant basis for the Request that outweighs its
       significant burden is articulated.
        85.     All documents or communications between Michelle Kinney and any
officer, agent, or employee of the Kinney Entities.




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        RESPONSE: The MWK Entities object to the request because it is overbroad, and thus
        the MWK Entities are unable to search for documents responsive to the request or make
        any appropriate objections.
      86.   All documents or communications evidencing or reflecting any efforts you
made from 2006 to 2016 to provide Jowers with training as a professional attorney recruiter.
        RESPONSE: The MWK Entities object to the request because the documents requested
        are not relevant to any claim or defense, and therefore the burden and expense of
        producing them dramatically exceeds their value to Jowers. This Request appears to seek
        production of every matter that could be deemed instructive to Jowers over a vast period
        of time, and such a request is thus overbroad. The MWK Entities will withhold
        production of responsive documents on this basis unless and until a relevant basis for the
        Request outweighing its burden is articulated. The MWK Entities also object to this
        Request to the extent it seeks documents or materials protected by the attorney-client
        privilege or the work product doctrine and will withhold such documents on that basis,
        and description of said documents will be reflected in a privilege log that MWK Entities
        will disclose within a reasonable time..
       87.     All documents or communications that you have received in response to
any subpoena or other third-party discovery request made or served by Plaintiff or Counter-
defendants in this Lawsuit.
       RESPONSE: Responsive documents from Latham & Watkins were produced on
       January 29, 2020, and further documents so received will be produced as they are
       received by the MWK Entities.
      88.    All documents or communications that you intend to use as an exhibit or to
show to any witness during any deposition, trial, hearing, or other proceeding in this Lawsuit.
       RESPONSE: The MWK Entities object to this catch-all document request and relies on
       the MWK Entities’ previous responses and objections. Otherwise responsive documents
       will be produced as soon as practicable after their production and prior to their use.
       89.     All documents or communications that you intend to use in your defense or
prosecution of any claim in this Lawsuit.
       RESPONSE: The MWK Entities object to this catch-all document request and relies on
       the MWK Entities’ previous responses and objections. Otherwise responsive documents
       will be produced as soon as practicable after they are produced and before they are used.
       90.     All documents or communications that you have sent to, received from, or
provided to any expert who will provide testimony at trial in this Lawsuit.



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      RESPONSE: At this time, the MWK Entities do not have documents responsive to the
      request and reserves the right to provide supplemental discovery pursuant to Federal Rule
      of Civil Procedure 26.
       91.      All documents or communications reviewed by any expert who will provide
testimony at trial in this Lawsuit.
      RESPONSE: At this time, the MWK Entities do not have documents responsive to the
      request and reserves the right to provide supplemental discovery pursuant to Federal Rule
      of Civil Procedure 26.
       92.    All documents or communications relied upon by any expert who will
provide testimony at trial in this Lawsuit.
      RESPONSE: At this time, the MWK Entities do not have documents responsive to the
      request and reserves the right to provide supplemental discovery pursuant to Federal Rule
      of Civil Procedure 26.
      93.    A true and correct copy of each Kinney Entity’s document retention policy.
      RESPONSE: The MWK Entities object to this Request because “document retention
      policy” is vague, ambiguous, and not sufficiently defined to allow the MWK Entities to
      conduct a reasonable search for responsive materials. The MWK Entities will understand
      this Request to refer to a written, uniform, widely promulgated document policy
      specifying how and when documents are to be retained by employees and agents. Subject
      to the foregoing objection and definition, the MWK Entities do not have documents
      responsive to this Request.
      94.     All documents or communications relied upon by MWK or any other
Counter- defendant in calculating all amounts allegedly owed to MWK or any other
Counter-defendant with respect to any claim at issue in this Lawsuit.
      RESPONSE: The MWK Entities also object to this Request to the extent it seeks
      documents or materials protected by the attorney-client privilege or the work product
      doctrine and will withhold such documents on that basis, and description of said
      documents will be reflected in a privilege log that MWK Entities will disclose within a
      reasonable time.. Non-privileged, responsive documents, if any, will be produced as
      soon as practicable after service of the MWK Entities’ Responses and Objections.
      95.     All documents or communications relied upon by MWK or any other
Counter- defendant in calculating all damages allegedly owed to MWK or any other
Counter-defendant with respect to any claim at issue in this Lawsuit.
      RESPONSE: The MWK Entities object to this Request to the extent it seeks documents
      or materials protected by the attorney-client privilege or the work product doctrine and


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       will withhold such documents on that basis, and description of said documents will be
       reflected in a privilege log that MWK Entities will disclose within a reasonable time..
       Non-privileged, responsive documents currently in the possession of the MWK Entities
       will be produced within 14 days, and further documents will be produced as soon as
       practicable thereafter.
       96.    All demonstrative aids you expect to use at trial.
       RESPONSE: At this time, the MWK Entities do not have documents responsive to the
       request and reserves the right to provide supplemental discovery pursuant to Federal Rule
       of Civil Procedure 26.
       97.    All documents or communications obtained from any third party relating to
Jowers.
       RESPONSE: At this time, the MWK Entities do not have documents responsive to the
       request and reserves the right to provide supplemental discovery pursuant to Federal Rule
       of Civil Procedure 26.
      98.    All statements of any person designated by any party as a person with
knowledge of relevant facts.
       RESPONSE: At this time, the MWK Entities do not have documents responsive to the
       request and reserves the right to provide supplemental discovery pursuant to Federal Rule
       of Civil Procedure 26.




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Dated: February 4, 2020                  Respectfully Submitted


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                                        CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing was served upon all counsel
of record for Plaintiff by e-mail on the date indicated above.


                                                                  /s/ Robert E. Kinney
                                                                  Robert E. Kinney




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